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                         EXHIBIT C
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                                RAHN Y. MINAGAWA, PH.D.
                                   CURRICULUM VITAE


Office Address:     Forensic Psych Consultants
                    3919 Fourth Avenue, Suite B
                    San Diego, CA 92103-3172


Citizenship:        United States of America


Telephone:          Office:   (619) 231-2668
                    Cell:     (619) 251-2668
                    FAX:      (619) 231-4133
                    Email:    rahnminagawa@gmail.com

Education:


       1988-1989    Children's Hospital, San Francisco - Psychiatry Service
                    Comprehensive Child Crisis Service
                    Postdoctoral Fellow

       1977-1983    University of Southern California
                    Doctorate - Psychology (Clinical)
                    Masters Degree - Psychology

       1976-1977    California State College, Bakersfield
                    Bachelors Degree - Psychology

       1974-1976    California State University, Hayward

       1972-1974    West Valley Community College
                    Associates of Science - Biology


Military Service:

       1983-1995    United States Navy - Active Duty
                    Commander, Medical Service Corps

       1995-2005    United States Navy - Reserves (Active and Inactive)
                    Commander, Medical Service Corps



Licensure:          State of California
                    Board of Psychology
                    License Number PSY 9854

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Rahn Y. Minagawa, Ph.D.
Curriculum Vitae

Honors:

      1995           Navy Commendation Medal
      1991           Antarctica Service Medal
                     National Defense Service Medal
                     Southwest Asia Campaign Medal
                     Navy Unit Commendation
      1988           Navy Achievement Medal
                     Meritorious Unit Commendation
      1977-1980      National Institute of Mental Health
                     Graduate Fellowship
      1973           Santa Clara Newcomer's Scholarship
      1972-1974      Alpha Gamma Sigma Honour Society



Professional Associations:

                     American Professional Society on the Abuse of Children
                     American Psychological Association
                           Divisions:    American Psychology - Law Society
                                         Child, Youth & Family Services
                                         Independent Practice
                                         Military
                     American Psychological Association
                           HIV Office of Psychology Education (HOPE) Trainer
                           Behavioral and Social Sciences Volunteer
                     Association for the Treatment of Sexual Abusers
                     The International Society for Traumatic Stress Studies
                     National Coalition Against Domestic Violence


Forensic Appointments:
              Superior Court Panel of Psychologists for Criminal Court
              County of San Diego Juvenile Court Dependency Panel
              California Board of Psychology: Expert Case Reviewer
                                              Child Custody Evaluation Taskforce (1997)




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Rahn Y. Minagawa, Ph.D.
Curriculum Vitae

Clinical Experience:

      1995-Present Clinical and Forensic Psychologist
                   Private Practice

      1989-1999        Clinical Psychologist - U.S. Navy
                       U.S. Naval Hospital, San Diego
                       Department of Psychology
                       Head, Child & Adolescent Division (1989-1995)

      1988-1989        Postdoctoral Fellow - Psychiatry Service
                       Children's Hospital of San Francisco

      1986-1988        Clinical Psychologist - U.S. Navy
                       U.S. Naval Hospital, Rota, Spain
                       Head, Alcohol Rehabilitation Services

      1983-1986        Clinical Psychologist - U.S. Navy
                       Branch Medical Clinics, San Diego
                       Marine Corps Recruit Depot
                       Head, Mental Health Unit

      1980-1983        Psychological Assistant
                       Joseph Barber, Ph.D. - Supervisor
                       Los Angeles, CA

      1980-1981        Internship - School of Medicine
                       University of California, Los Angeles

      1977-1979        Clinical Practicum
                       Los Angeles County Mental Health
                       Forensic Mental Health Unit


Academic/Research Experience:

      2018-Present University of San Diego, Psychology Department
                   Juvenile Transfer Decisions in California: Adverse Childhood Experiences
                   in the Transfer Decision Process

      2010-2014        Faculty, Forensic Psychology Division
                       Alliant International University
                       San Diego, CA

      2007             Rady Children’s Hospital/University of California, San Diego
                       Laparoscopic Adjustable Gastric Banding (Lap-Band) as a Treatment for
                             Morbid Obesity in Adolescents


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Rahn Y. Minagawa, Ph.D.
Curriculum Vitae

      2006           Safe Start San Diego: Integrated Domestic Violence Treatment Systems for
                     Children - Clinical Specialist
                     Office of Juvenile Justice and Delinquency Prevention

      1998-2011      Clinical Adjunct Professor
                     Department of Psychology, San Diego State University

      1995-2004      Senior Scientist (Consultant) - GEOs-CENTER and
                     Henry M. Jackson Foundation
                     Naval Health Research Center
                     San Diego, CA

      1991-1995      Assistant Training Director
                     Clinical Psychology Internship Program
                     U.S. Naval Hospital, San Diego

      1992-2000      State of California - Board of Psychology
                     Oral Commissioner

      1990-1995      George Washington University
                     Adjunct Faculty

      1986-1988      University of Maryland, European Division
                     Instructor, Rota, Spain

      1981-1982      University of Southern California
                     School of Medicine
                     Department of Medicine - Hypertension Service
                     Research Coordinator

      1980-1981      University of California, Los Angeles
                     School of Medicine
                     Department of Anesthesiology
                     Staff Research Associate II

Publications:

      Hurtado, S., Shaffer, R.., Schuckit, M., Simon-Arndt, C., Castillo, E., Minagawa, R., Baer,
            J., Elder, J. and Engelberg, M. (2003). Evaluation of an Alcohol Misuse Prevention
            Program in a Military Population. (Report No. 03-26). San Diego, CA: NHRC.

      Stephanie Booth-Kewley, Richard A. Shaffer, Rahn Y. Minagawa, Stephanie K. Brodine
            (2002) “Effectiveness of two versions of a sexually transmitted diseases/human
            immunodeficiency virus prevention program.” Military Medicine, Vol. 167, 3:254-259.

      Schuckit, M., Squier, H., Hurtado, S., Minagawa, R., & Shaffer, R. (2001) A measure of the
            intensity of response to alcohol in a military population. American Journal of Drug
            and Alcohol Abuse, 27(4) 749-757.

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Rahn Y. Minagawa, Ph.D.
Curriculum Vitae

      Trank, T., Ryman, D., Minagawa, R., Trone, D. & Shaffer, R (2001) Running mileage,
             movement mileage, and fitness in male U.S. Navy recruits. Medicine & Science in
             Sports & Exercise, 33(6), 1033-1038.

      Booth-Kewley, A., Minagawa, R., Shaffer, R., Gilman, P., & Brodine, S. (1999) Evaluation
            of an STD/HIV intervention program among Marine security guards. Naval Health
            Research Center, Technical Document 99-23.

      Almeida, S., Williams, K., Minagawa, R., Benas, D., & Shaffer, R. (1997) Guidelines for
            developing a physical training program for U.S. Navy recruits. Naval Health
            Research Center, Technical Document 96-11K.

      Butcher, J., Jeffrey, T., Cayton, T., Colligan, S., DeVore, J. & Minagawa, R. (1990) A
            study of active duty military personnel with the MMPI-2. Military Psychology, 2,
            47-61.

      DeQuattro, V., Sullivan, P., Minagawa, R., Kopin, I., Bornheimer, J., Foti, A. & Barndt, R.
           (1984) Central and peripheral noradrenergic tone in primary hypertension.
           Federation Proceedings, 43, 47-51.

      Reeves, J., Redd, W., Storm, K. & Minagawa, R. (1983) In J. Bonnica, O. Lindlom & A.
            Iggo (Eds.), Advances in Pain Research and Therapy, Vol. 5 (pp 857-861). New
            York, NY:Raven.

      Redd, W., Andresen, G. & Minagawa, R. (1982) Hypnotic control of anticipatory emesis
            in patients receiving chemotherapy. Journal of Consulting and Clinical Psychology,
            50, 14-19.


Professional and Poster Presentations:

      “Adolescent Development - Why Minors Should Not Be Treated As Adults” Los Angeles
             County District Attorney Office, Presentation to Senior Management, January 26,
             2021.

      “Pacific Juvenile Defender Center’s Transfer Litigation Intensive Forum - Building Your
              Transfer Team” InReach Video Conference, August 29, 2020.

      “Pacific Juvenile Defender Center’s Transfer Litigation Intensive Forum - Representing the
              Older Client” InReach Video Conference, August 29, 2020.

      “Psychological Issues and the Evolution of Law as it Relates to Minors and Young Adults.”
            University of San Diego, Department of Psychology, December 6, 2018

      “Beyond the Bench 24: Uniting for a Better Future - Recognizing Youth in Practice: Juvenile
            Delinquency Defense.” Judicial Council of California, San Diego, CA, December 18,
            2017.


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Rahn Y. Minagawa, Ph.D.
Curriculum Vitae

     “Risk and Protective Factors.” Los Angeles County Public Defender Capital Case Seminar,
            Los Angeles, CA. September 16, 2017.

     “Transfer Evaluations with a Focus on Gang-Involved Youth.” Los Angeles County Public
            Defender’s 35th Annual Juvenile Delinquency Law Training Seminar, Los Angeles,
            CA. April 29, 2017.

     “Changes to WIC Section 707 Fitness Criteria” Santa Clara County Juvenile Justice
           Courthouse, San Jose, CA, May 11, 2016.

     “Child Maltreatment, Adverse Childhood Experiences (ACE), & Complex Trauma:
            Research, Assessment and Forensic Applications” San Diego State University,
            Department of Public Health, San Diego, CA, April 28, 2016.

     “Evaluating Competency in Minors: Understanding Critical Developmental Issues” San
            Diego Psychology & Law Society, San Diego, CA, July 24, 2014.

     “Mitigating Gang Involvement: America’s Child Soldiers” Capital Case Defense Seminar,
             Monterey, CA, February 16, 2014.

     “Forensic Issues in Psychology” Department of Psychology, University of California, San
            Diego, August 27, 2013.

     “Adolescent Brain Development” Inyo and Yolo County Probation Departments,
            Independence, CA, April 16, 2013.

     “Discovering Hidden Mental Health Issues in Your Case” Office of the Public Defender,
            Riverside, CA, March 1, 2013.

     “Discovering Hidden Mental Health Issues in Your Case” California Public Defender’s
            Association, Yosemite National Park, November 10, 2012.

     “Complex Trauma: Research, Assessment and Forensic Applications” San Diego County
           Public Defender, April 24, 2012.

     “Forensic Psychology” Department of Psychology, University of California, San Diego,
            March 6, 2012.

     “Developmental Perspective of Gang Involvement” San Diego County Public Defender,
            November 8, 2011, San Diego, CA.

     “Developmental Perspective of Gang Involvement” San Francisco Public Defender,
            September 14, 2011, San Francisco, CA.

     “Complex Trauma: Research, Assessment and Forensic Applications” San Francisco
           Public Defender, August 10, 2011, San Francisco, CA.



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Rahn Y. Minagawa, Ph.D.
Curriculum Vitae

     “Complex Trauma: Research, Assessment and Forensic Applications” San Clara County
           Public Defender, August 9, 2011, San Jose, CA.

     “Mitigating Gang Involvement by Understanding Adolescent Development” Capital Case
             Defense Seminar, February 19, 2011, Monterey, CA.

     “Mitigating Gang Involvement by Understanding Adolescent Development” Juvenile
             Defense Seminar, January 22, 2011, Monterey, CA.

     “Developmental Perspective of Gang Involvement” California Defense Investigator’s
            Association, May 20, 2010, Long Beach, CA.

     “Developmental Perspective of Gang Involvement” San Diego County Probation
            Department, April 20, 2010, San Diego, CA.

     “Mitigating Gang Involvement by Understanding Adolescent Development - The Issue of
             Choice” Capital Case Defense Seminar, February 13, 2010, Monterey, CA.

     “Developmental Perspective of Gang Involvement” San Diego County Probation
            Department, January 6, 2010, San Diego, CA.

     “Mitigating Gang Evidence” 2009 Capital Case Seminar, Los Angeles County Public
             Defender, October 16, 2009, Los Angeles, CA.

     “Cultural Adaptations for Domestic Violence Programming” Safe Start San Diego 2009
            Conference, June 11, 2009, San Diego, CA

     “Interviewing Minors: Developmental Issues in Communication” California Defense
             Investigators Association Conference, May 21, 2009, Napa, CA

     “Forensic Issues in Psychology” Grand Rounds, UCSD Medical Center, March 11, 2009,
            San Diego, CA.

     “Adolescent Brain Development: A Work in Progress” Office of the Public Defender, Santa
            Barbara County, March 31, 2008, Solvang, CA.

     “Developmental Perspective of Gang Involvement” Office of the Public Defender, Santa
            Barbara County, March 31, 2008, Solvang, CA.

     “Laws, Ethics and Risk Management” San Diego Regional Center, April 23, 2008, San
            Diego, CA.

     “Assessment Techniques for the Evaluation of Juvenile Sex Offenders” Office of the Public
           Defender, Santa Clara County, January 25, 2005, San Jose, CA.

     “Domestic Violence Across Cultures: Assessment, Intervention & Resources for Clinicians”
           County of San Diego Health and Human Services Agency Training and
           Development, May 6, 2004, San Diego, CA.

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Rahn Y. Minagawa, Ph.D.
Curriculum Vitae

     “Laws, Ethics, and Risk Management: Keeping Your Clients and Practice out of Jeopardy”
            County of San Diego Health and Human Services Agency Training and
            Development, January 20, 2004, San Diego, CA.

     “Asian American Street Gangs” Capital Case Defense Seminar, February 14, 2003,
            Monterey California.

     “‘Crimson Storm’ - United States Marine Corps’ Drug Education Video Game” 2001 Office
            of National Drug Control Policy International Technology Symposium, June 26,
            2001, San Diego, CA.

     “Domestic Violence: Ethnic Considerations” County of San Diego Health Services and
           Training Development, June 13, 2001, San Diego, CA.

     “Laws, Ethics, and Risk Management” US Naval Medical Center, Departments of
            Psychology and Psychiatry, May 22, 2001, San Diego, Ca.

     “Using Videogame Technology to Address Drug Prevention in Adolescence” Office of
            National Drug Control Policy and Department of Defense Alcohol Abuse and
            Tobacco Use Reduction Committee, April 24, 2001, The White House, Washington,
            DC.

     “Fitness Hearings/Deferred Entry of Judgment: How to determine whether to send juveniles
            to adult court” Panelist, 2001 California Juvenile Law & Procedure Institute,
            California Center for Judicial Education and Research, April 6, 2001, Costa Mesa,
            CA.

     “Laws, Ethics, and Risk Management” National Academy of Neuropsychology Conference
            2000, November 15, 2000, Orlando, FL.

     “Use of Videogame Technology to Educate Marines on Drugs and Drug Effects” Office of
            National Drug Control Policy, November 13, 2000, San Diego, CA.

     “Adolescent Violence” The Commonwealth Club of California, June 8, 2000, San Francisco,
            CA.

     “Black Youth at Risk Forum - Black Youth Crime and Incarceration: The Cause and Cure”
            Sponsored by the San Diego Branch NAACP, San Diego Urban League, and the
            San Diego County Bar Association, October 23, 1999, San Diego, CA.

     “Laws, Ethics, and Risk Management: Keeping Your Clients and Practice out of Jeopardy”
            1999-2000 Professional Seminars, Forensic Psych Consultants, state-wide.

     “Transition of a Successful Skills-Building STD/HIV Intervention” February 5, 1999, Navy
             Medical Center, San Diego, CA.

     “Gangs as Mitigation” 1998 Death Penalty College, August 12, 1998, Santa Clara
           University, School of Law, CA.

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Rahn Y. Minagawa, Ph.D.
Curriculum Vitae

     “Adolescent Risk Factors for Delinquency” Division of Adolescent Medicine Grand Rounds,
            April 9, 1998, University of California, San Francisco, CA.

     “Domestic Violence: Ethnic Considerations” County of San Diego Health Services and
           Training Development, March 25, 1998, San Diego, CA.

     “Adolescent Pressures Towards Violence” Capital Case Defense Seminar, February 15,
            1998, Monterey, CA.

     “Detecting Mental Illness” Capital Case Defense Seminar, February 14, 1998, Monterey,
            CA.

     “Assessment of a Revised Training Model for the Prevention of Musculoskeletal Injuries in
           Female Navy Recruit Populations” (Poster Presentation) 38th Navy Occupational
           Health and Preventive Medicine Workshop, February 12, 1997, Virginia Beach, VA.

     “Cross Cultural Conflicts in the Juvenile and Family Court Systems” Panelist, Minor’s
            Counsel Seminar, San Diego County Bar Association, November 9, 1996, San
            Diego, CA.

     “Forensic Mental Health Issues in the Military Court System” Navy Legal Services Office,
            April, 1996, San Diego, CA.

     “Expert Witnesses” West Coast National Institute for Trial Advocacy, August 16, 1994, San
            Diego, CA.

     “Stress, Depression and Suicide” 31st Navy Occupational Health and Preventive Medicine
            Workshop, March 10, 1991, Virginia Beach, VA.

     “Examination Techniques: Lay and Expert Witnesses” U.S. Department of Justice,
           February 15, 1991, San Diego, CA.




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